Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 1 of 26




                       IN THE UNITED STATES COURT
                     FOR THE DISTRICT OF PUERTO RICO




        UNITED STATES OF AMERICA,

                    Plaintiff,

                      v.
                                         CRIM. NO.: 12-693(FAB/SCC)
        [1] JOSÉ M. GUZMAN-DE LOS
        SANTOS,

        [3] VICTOR M. CARELA,

                    Defendants.



                 REPORT AND RECOMMENDATION

          Co-Defendants José M. Guzman-De Los Santos and Victor
       M. Carela stand charged with conspiracy to distribute and
       possession with intent to distribute controlled substances.
       Docket No. 29. Each has filed a motion to suppress evidence,
       Docket Nos. 104, 115, both of which were referred to the
       undersigned by the presiding district judge. Docket Nos. 105,
       116. An evidentiary hearing on the motions was held on April
       3, 2013, see Docket No. 121; below, after laying out our findings
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 2 of 26




       UNITED STATES v. GUZMAN                                  Page 2



       of fact and conclusions of law, we recommend that the motions
       be denied.
          I. Findings of Fact
          At the evidentiary hearing held on April 3, 2013, the
       Government presented a number of witnesses: Lead Border
       Patrol Agent Luis R. Capestany, of Customs and Border
       Protection (“CBP”); Special Agent Jonathan Maldonado of
       Homeland Security Investigations (“HSI”); Special Agent
       Carlos Martínez, also of HSI; Sgt. Angel M. Garía-Martínez of
       the Police of Puerto Rico (“POPR”); and Cynthia Rivera-
       Gongon, of the Yabucoa Municipal Police Department
       (“YMPD”). Neither defendant presented any evidence. Below,
       we present our findings of fact in narrative form, explaining
       our findings on points of contention where necessary.
          A. Surveillance of the Van and the Vessel’s Incursion
          In the late summer of 2012, federal and state law enforcem-
       ent agencies became aware of repeated attempts—many
       successful—to introduce narcotics shipments via night-time
       boat drops in the relatively unpopulated southeast area of
       Puerto Rico. Thus, on the evening of September 16, 2012,
       border patrol agents, along with agents from other agencies,
       were conducting intelligence and surveillance operations in the
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 3 of 26




       UNITED STATES v. GUZMAN                                  Page 3



       area of Yabucoa and Maunabo. Some CBP agents, stationed at
       high points that gave them a wide view of the horizon and sea,
       were on the look out for approaching vessels. Meanwhile, Lead
       Agent Capestany was driving along PR-901, a road connecting
       Maunabo to its northeastern neighbor, Yabucoa, while hewing
       close to the coast.
          Around 10:40 p.m., an intelligence officer from POPR’s Joint
       Rapid Action Force (known by its Spanish acronym, “FURA”)
       spotted a white Ford Econoline van parked off PR-901 at a
       place called “El Eden.” Finding the van suspicious, the FURA
       intelligence officer radioed Agent Capestany about it. Minutes
       later, the same van was seen by a YMPD officer parked at El
       Horizonte Restaurant. Not long after that, at approximately
       11:00 p.m., the same van was seen again by the FURA intellig-
       ence officer in the parking lot of a business called “Mary’s
       Kiosk.” While driving back from an attempted intervention,
       Agent Capestany saw the van in that same location at approx-
       imately 11:10 p.m. The van was parked and had its lights off.
          After seeing the van, Agent Capestany began to drive south
       on PR-901, toward Maunabo. Not long after, he turned around
       and headed back on the same road toward Yabucoa, when, at
       around 11:20 p.m., he passed the same van, which was headed
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 4 of 26




       UNITED STATES v. GUZMAN                                              Page 4



       in the direction of Maunabo. Agent Capestany drove by Mary’s
       Kiosk again, verifying that the van was no longer parked there,
       and turned back toward Maunabo. Again, he passed the van;
       this time it was heading toward Yabucoa. It was 11:30 p.m.
       Agent Capestany turned north again, following the van and
       getting its license plate number: 887-765. Agent Capestany ran
       the van’s plate and found it registered to a man from Barrio
       Obrero, in Santurce, PR. Findings its back-and-forth move-
       ments suspicious, he also notified other CBP covert agents in
       the area to stay on the lookout for it.1
            Agent Capestany returned to his hiding spot to wait, and at
       around 1:30 a.m., he was notified by a YMPD officer that the
       van had been spotted again, at a place in Yabucoa called Palma
       de Lucia; the van was parked under a flower bush, as if hiding.
       The van was seen again by Agent Capestany at around 3:30
       a.m., and it was again parked, lights out, at Mary’s Kiosk.


       1.   Agent Capestany also encountered two other suspicious vehicles that
            evening. One was a Hyundai Elantra that he saw coming from the
            direction where the drugs were ultimately recovered. When he ran its
            plate, the number returned to a Mazda. Later, passing a bridge, he saw
            several men running from the beach towards a red vehicle. Both times
            he notified other agents to keep watch for the vehicles, but he decided
            to wait rather than intervene. Neither of these vehicles were
            encountered again.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 5 of 26




       UNITED STATES v. GUZMAN                                        Page 5



            Also around 3:30 a.m., agents watching the coast with
       night-vision equipment spotted a vessel attempting a lights-out
       approach to the shore. The vessel appeared headed toward
       Maunabo. Agent Capestany notified the YMPD, POPR, FURA,
       and other CBP agents in the area. He notified the Coast Guard,
       but it was unavailable to assist; however, a FURA helicopter
       was sent to intervene with the vessel, which ran aground.
       Three people were seen leaving the vessel.
            Agent Capestany headed toward the vessel’s landing spot.
       He drove as far as he could, but eventually the road became
       unmanageable and he was forced to walk. With other agents,
       he walked in the direction of the beach until they came across
       a red Ford Excursion stuck in the mud. Red gas cans were
       everywhere, inside and outside the truck. They searched and
       secured the vehicle, leaving YMPD officers with it.2 By this
       time, it was approximately 4:20 a.m. On the beach, they found
       the vessel, but there were no people and no contraband to be
       found. But in a nearby creek, a FURA officer found a signifi-
       cant quantity of bundles of what eventually turned out to be




       2.   YMPD officers eventually found and arrested Co-Defendant Cecilio
            Mercedes-de la Cruz in the vicinity of the Excursion.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 6 of 26




       UNITED STATES v. GUZMAN                                             Page 6



       cocaine.3 It took fifteen agents thirty minutes to load all of the
       bundles back onto the vessel, which was then piloted to
       FURA’s maritime station in Humacao.
            B. Defendant Guzmán’s Arrest
            At around 6:00 a.m., a border patrol agent identified the
       white van in a Texaco parking lot not far from where the vessel
       had landed.4 A decision was made to intervene with the van’s
       driver, who was later identified as Defendant Guzmán, but the
       details of the initial intervention are not clear, because the
       Government presented no first-person account of the encoun-
       ter. Both Agent Capestany and Special Agent Maldonado
       testified that upon being approached by agents, Guzmán
       consented to a search of the van, but the Government failed to
       present any witness who could testify first-hand about this
       alleged consent. We will, therefore, disregard the testimony
       about consent as unreliable hearsay. Instead, we will rely
       primarily on the testimony of the arresting officer, POPR Sgt.
       García, who was at that time the Director of FURA’s Maritime



       3.   In total, the agents recovered 918 kilograms of cocaine.

       4.   The distance from where the narcotics were found to the Texaco station
            is approximately 2.7 miles by road and 1.5 miles by air.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 7 of 26




       UNITED STATES v. GUZMAN                                  Page 7



       Division in Humacao. However, because he arrived after other
       agents had detained Defendant Guzmán, we make no factual
       findings about the circumstances of Guzmán’s initial encounter
       with the authorities.
          Early on the morning of September 17, 2013, Sgt. García
       was woken up by a call from FURA’s operations center, which
       informed him of the morning’s activities. He dressed and
       headed toward Maunabo, and while he was driving on PR-901
       he received a call telling him to keep a lookout for the white
       van. Passing the Texaco station, he saw the van and its driver
       surrounded by various officers, including border patrol. Sgt.
       García parked his car, greeted the other officers, and began to
       question Guzmán. Guzmán told Sgt. García—truthfully, we
       note—his name and that he lived in Santurce. Asked what he
       was doing in the area, Guzmán said that he had come to pick
       up a person named Alexis, with whom he said he was going to
       do a construction job at a pharmacy in Humacao. However, on
       further questioning, Guzmán could not name the pharmacy or
       the person who hired him, nor could he provide a phone
       number for Alexis. Instead, he said that he was waiting for
       Alexis, who knew where they were headed. At this point, Sgt.
       García placed Guzmán under arrest. At the hearing, his stated
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 8 of 26




       UNITED STATES v. GUZMAN                                              Page 8



       reason for arresting Guzmán at that time was because “none of
       [his answers to] the questions that I asked him made any sense
       as to the reason he was there,” given “the night’s events” and
       that he had been driving around the area for many hours.
       However, Sgt. García admitted that the van had never been
       seen violating traffic laws, nor did he see any evidence directly
       tying Guzmán to illegal activity, or, for that matter, to the
       vessel that had run ashore that morning. Guzmán was not read
       his Miranda rights until after his arrest.5 Sgt. García then search-
       ed the van, but he did not find much other than a couple of
       mattresses and three cellular phones.
            Guzmán was eventually taken to HSI’s offices in San Juan,
       where he was interviewed by the Special Agent Maldonado.


       5.   At the evidentiary hearing, Guzmán’s attorney argued that Guzmán
            should have been Mirandized immediately by Sgt. García because Sgt.
            García considered him a “suspect.” According to Guzmán’s attorney,
            cases stating this proposition are plentiful, though he failed to
            provide—and we have failed to find—any. Instead, we find cases
            stating the opposite: “Miranda warnings are not required ‘simply
            because . . . the questioned person is one whom the police suspect.’”
            California v. Behler, 463 U.S. 1121, 1125 (1983) (quoting Oregon v.
            Mathiason, 429 U.S. 492, 495 (1977)). When Sgt. García encountered
            Guzmán, he had not already decided to arrest Guzmán, and the
            circumstances of the interview were not consistent with a custodial
            interrogation. The detention appears to have been investigatory, and no
            Miranda warning was immediately necessary.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 9 of 26




       UNITED STATES v. GUZMAN                                             Page 9



       Before the interview, Guzmán signed a waiver of rights. The
       waiver suggests that the interview took place at about 12:30
       p.m. on September 17, 2013. Nothing suggests that Guzmán’s
       waiver was not freely and intelligently given. During the
       interview, Guzmán admitted to having dropped some six
       individuals off in the vicinity of where the vessel eventually
       ran ashore. He was paid to do this by a person he identified
       only as “Caliman,” who was to pay Guzmán $5,000 for his
       services. After dropping the individuals off, Guzmán had been
       told to wait for Caliman’s instructions. This story is corrobo-
       rated by text-message conversations found on Guzmán’s
       phone.6 Guzmán signed a consent-to-search form authorizing
       the search of the phone. Again, nothing in the record leads us
       to question the consent’s validity.
            C. Defendant Carela’s Arrest
            YMPD Officer Cynthia Rivera was on duty on September
       17, 2013. At the beginning of her shift, she had been told that
       a shipment of narcotics had arrived the previous night by boat
       and that agents were continuing to search for people who had



       6.   The content of the messages is not particularly revealing, but they do
            suggest that Guzmán was waiting, reporting back to Caliman that
            things were fine.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 10 of 26




       UNITED STATES v. GUZMAN                                   Page 10



       fled from that operation. She and her partner were told to be
       on the lookout for these individuals.
          At 3:00 or 4:00 p.m. that afternoon, Officer Rivera and her
       partner were driving on PR-901 from Maunabo towards
       Yabucoa. They were driving a black car with no roof-mounted
       lights. In Yabucoa, they noticed a man dressed in black
       attempting to hitch a ride. They pulled up alongside him, and
       when he noticed the patrol car’s decal on its side, he jumped
       over a railing on the road’s side and into some trees. Officer
       Rivera drove to level soil, called for backup, and turned back
       in the direction of Maunabo. They came across the man again
       and stopped alongside him. They asked his name, and he said
       it was Victor. He said he was collecting metal. Officer Rivera
       noticed that he was wearing black pants, a long-sleeved back
       shirt, and black and blue aquatic sneakers that she identified as
       the kind one would use for jet-ski driving. His clothing was
       wet.
          While they were stopped, the individual, later identified as
       Co-Defendant Carela, asked for water. Officer Rivera gave him
       a bottle from the car, and he continued to talk. He said he was
       in the area with a person named Juan, but he couldn’t answer
       where Juan was. Other agents arrived from the municipal and
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 11 of 26




       UNITED STATES v. GUZMAN                                    Page 11



       state police. He was again asked why he was in the area, and
       this time he said that he had been with a boat along with
       several other people. He said he was going to be paid $5,000
       for his participation but that he hadn’t been paid yet. At this
       point, he was arrested and read his Miranda rights. Later, the
       police gave him more water and two empanadillas. He was
       found to be without any identification, and he was later
       determined to be in the country illegally. Throughout the
       questioning, Carela appeared tired but coherent, and he
       seemed to understand everything that was discussed.
          After his arrest, Carela was eventually taken to HSI’s San
       Juan office for an interview. Special Agent Carlos Martínez,
       who interviewed Carela alongside Special Agent José Lebron,
       testified that he again read Carela his Miranda rights, and the
       Government introduced a waiver form that Carela purportedly
       signed. Carela’s counsel asks us to look at this form and decide
       that Carela did not waive his rights. Carela’s counsel is right
       that the form is filled out in a strange manner. Special Agent
       Martínez testified that Carela initialed the rights as they were
       explained so as to indicate that he understood them. But the
       initials are wrong—as to some rights, a “VMC” can be made
       out, but as to others, the initials are incomplete or in the wrong
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 12 of 26




       UNITED STATES v. GUZMAN                                  Page 12



       order, e.g., “CMV.” Similarly, where the form has a space for
       Carela’s “Name” and “Signature,” the signature line is blank
       and the name line is difficult to decipher, though, in our
       opinion, it looks like an attempt at a signature: we can make
       out a “V,” an “M,” and a “C,” and those letters are preceded by
       an “x,” a symbol that often indicates a signature or a space
       therefor.
          So, we agree that there are some oddities in the form, but
       we are not sure what inference Carela’s counsel wishes us to
       draw from them. The motion to suppress does not suggest that
       the form was a forgery, and while counsel asked many pointed
       questions about the form, those questions did not offer us
       much of an alternative theory than what is implicitly offered by
       the Government: that Carela filled out the form, but he did so
       badly. This is the story supported by Special Agent Martínez,
       who testified credibly that he saw Carela fill out the form as
       the rights were read and explained to him. Carela did not
       testify, nor did he offer any other evidence to refute this
       version of the facts. Without an alternative narrative from
       Carela, we are disinclined to speculate about what the form’s
       oddities result from, especially since the form merely memori-
       alizes the waiver and is not necessarily the waiver itself. See,
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 13 of 26




       UNITED STATES v. GUZMAN                                    Page 13



       e.g., United States v. Barr, 349 F. App’x 704, 705 (3d Cir. 2009)
       (referring to a waiver form as       “memorializ[ing]” of the
       defendant’s waiver of his rights); see also United States v. Byrd,
       155 F. App’x 58, 60 (3d Cir. 2005) (holding that the failure of
       the police to use a form to “memorialize the [defendant’s]
       consent” did not mean that the defendant’s statement was
       involuntary). The form’s curiosities notwithstanding, the
       evidence adduced at the hearing shows that Carela waived his
       Miranda rights. His demeanor, moreover, was positive and
       coherent, and he answered questions freely.
          During the interview, Carela said that he had been hired by
       Co-Defendant Guzmán a few days earlier to work on a
       narcotics load. He said that it had been his job to refuel the
       vessel and he also helped offload the bales of narcotics from
       the vessel after it came ashore.
          II. Analysis
          Because their claims rest on different factual bases, we take
       up the suppression motions separately. Below, we discuss
       Defendant Guzmán’s motion before turning to Defendant
       Carela’s.
          A. The evidence against Defendant Guzmán should not
              be suppressed.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 14 of 26




       UNITED STATES v. GUZMAN                                   Page 14



          Sometime around 6:00 a.m. on September 17, 2012, Defend-
       ant Guzmán was detained by authorities. This detention falls
       under the rubric of Terry v. Ohio, 392 U.S. 1 (1968), which
       permits a police officer, “in appropriate circumstances and in
       an appropriate manner [to] approach a person for the purposes
       of investigating possibly criminal behavior even though there
       is no probable cause to make an arrest.” Id. at 22. To justify a
       Terry stop, the officer “must be able to articulate something
       more than an inchoate and unparticularized suspicion or
       ‘hunch.’” United States v. Sokolow, 490 U.S. 1, 7 (1989) (quoting
       Terry, 392 U.S. at 27). We evaluate a Terry stop by asking
       whether the detaining officer had a “reasonable suspicion” that
       the person stopped may be involved in criminal activity. Id. at
       7. Here, reasonable suspicion certainly existed, as officers had
       monitored Guzmán’s van for hours as it drove aimlessly and
       parked randomly in the area where a large load of narcotics
       was delivered that same evening by boat. Thus, we see no
       problem with the initial detention or the questions that Sgt.
       García asked Guzmán.
          When Sgt. García questioned Guzmán at the Texaco station
       about why he was in the Maunabo-Yabucoa area that night,
       Guzmán told him that he was waiting to pick up a person
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 15 of 26




       UNITED STATES v. GUZMAN                                     Page 15



       whose number he didn’t have so that they could drive to a
       construction job in Humacao at a business that he couldn’t
       name. Because these answers didn’t make sense to Sgt. García,
       he arrested Guzmán and searched his van.
          Unlike the initial detention, the arrest and search need to
       have been supported by probable cause. This is a harder to
       satisfy standard than reasonable suspicion, though it is
       similarly nebulous. See Illinois v. Gates, 462 U.S. 213, 234 (1983)
       (noting that probable cause was not a “[f]inely-tuned” stan-
       dard). Probable cause requires “more than bare suspicion.”
       Brinegar v. United States, 338 U.S. 160, 175 (1949). And whereas
       Terry stops are investigatory, probable cause requires a “fair
       probability” that the person arrested is engaged in criminality
       or that the place searched contains contraband or evidence of
       a crime. Id. at 238; see also Safford United School Dist. No. 1 v.
       Redding, 557 U.S. 364, 371 (2009) (noting that probable cause
       requires a “fair probability” or “substantial chance” of
       “discovering evidence of criminal activity”). The “substance of
       all the definitions of probable cause is a reasonable ground for
       belief of guilt, . . . and that the belief of guilt must be
       particularized with respect to the person to be searched or
       seized.” Maryland v. Pringle, 540 U.S. 366, 371 (2003) (internal
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 16 of 26




       UNITED STATES v. GUZMAN                                                Page 16



       citations omitted). Whether probable cause existed should be
       determined after taking into account the totality of all of the
       circumstances known to the seizing officer. Gates, 462 U.S. at
       230–31.
            Here, nothing directly tied Guzmán to any criminality,
       though such direct evidence is not a necessity. See, e.g., United
       States v. Whitner, 219 F.3d 289, 297 (3d Cir. 2000) (“We have
       repeatedly noted . . . that direct evidence linking the crime to
       the location to be searched is not required to support a search
       warrant.”). What the Government offers, instead, is circum-
       stantial evidence, derived from Guzmán’s suspicious driving
       and evasive answers as seen through the lens of Sgt. García’s
       experience. See United States v. Davis, 458 F.2d 819, 821 (D.C.
       Cir. 1972) (holding that probable cause should be “viewed
       from the vantage point of a prudent, reasonable, cautious
       police officer on the scene . . . guided by his experience and
       training”).7 When dealing with lawful activity deemed by law



       7.   However, the Court cannot simply rely on the officer’s claims of
            expertise and his conclusions that probable cause exist. Instead, the
            officer must be able to articulate why his particular expertise led him to
            conclude that criminality existed in the particular circumstances of the
            arrest or search. WAYNE R. LAFAVE, 2 SEARCH & SEIZURE: A TREATISE ON
            THE FOURTH AMENDMENT § 3.2(c) (5th ed.).
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 17 of 26




       UNITED STATES v. GUZMAN                                        Page 17



       enforcement to be suspicious, the cases have tended to hold
       that the activity, taken as a whole, must more likely than not be
       criminal for probable cause to exist. WAYNE R. LAFAVE, 2
       SEARCH & SEIZURE: A TREATISE ON THE FOURTH AMENDMENT
       § 3.2(e) (5th ed.) (explaining that “most of the decisions on this
       point indicate or strongly intimate” that probable cause will
       only exist if the “suspicious” activity is more likely than not
       criminal). That is, probable cause will exist where a “succession
       of superficially innocent events has proceeded to the point
       where a prudent man could say to himself that an innocent
       course of conduct was substantially less likely than a criminal
       one.” United States v. Patterson, 492 F.2d 995, 997 (9th Cir. 1974);
       see also United States v. Green, 670 F.2d 1148, 1153 (D.C. Cir.
       1981) (finding probable cause where “[n]o plausible, innocent
       explanations for [the defendant’s] sequence of behavior readily
       springs to mind, nor has the defendant suggested any”). The
       officer need not know “precisely what type of crime may have
       been committed” for probable cause to exist. United States ex
       rel. Frasier v. Henderson, 464 F.2d 260, 262 (2d Cir. 1972).
          Guzmán’s suspicious back-and-forth driving brought the
       agents’ attention to him, and this driving—in an area that the
       same night saw an attempted narcotics importation—is the
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 18 of 26




       UNITED STATES v. GUZMAN                                               Page 18



       strongest factor in support of a finding of probable cause for
       his arrest. Thus, we have reviewed a large body of case law in
       which probable cause findings were based in part on the
       defendant’s suspicious driving, usually in high crime areas.
       The lesson that we draw from these cases is that where
       suspicious driving occurs alongside some other evidence
       pointing to the defendant’s connection with criminality, courts
       tend to find that probable cause existed. For example, in United
       States v. Korb, the finding of probable cause was primarily
       based on the defendant’s circuitous and evasive driving in the
       area of the United States-Mexico border, taken together with
       the agents’ knowledge that a small amount of marijuana had
       previously been found in the vehicle. 464 F.2d 456, 457 (9th Cir.
       1972) (per curiam).8 Thus, it was the suspicious driving,
       combined with other evidence of criminality, that led to a



       8.   The vehicle enter the United States from Tijuana. See United States v.
            Korb, 464 F.2d 456, 457 (9th Cir. 1972) (per curiam). On entry, the car
            was stopped and some marijuana seeds were found. See id. The car was
            allowed to enter the U.S., but was surveilled; the agents watched the car
            make several stops in San Diego before returning to Mexico, where it
            successfully evaded the agents. See id. It then re-entered the U.S. and
            was once again tailed; it again evaded the surveillance. See id.
            Eventually, it reappeared and the agents stopped and searched it,
            finding a duffel bag of marijuana and two guns. See id.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 19 of 26




       UNITED STATES v. GUZMAN                                      Page 19



       probable cause finding. See id.
          Similarly, in United States v. Calderon, probable cause to
       search was found in part because the defendant was driving
       off-road near the United States-Mexico border; at one point, his
       vehicle was seen driving “in tandem with a pick-up truck
       matching the description of a truck [the defendant] owned that
       subsequently took a divergent path on a road known by border
       patrol agents as a route to circumvent the [border] check-
       point.” 124 F. App’x 223, 224 (5th Cir. 2004) (per curiam). The
       defendant in Calderon was driving in a particularly suspicious
       manner with the apparent intent of secreting something over
       the border. The other cases we have been able to find are to
       similar effect. See, e.g., United States v. Tovar, 490 F. App’x 638,
       639 (5th Cir. 2012) (per curiam) (probable cause where the
       defendant parked in isolated areas and where the agents had
       a tip that the defendant was engaged in transporting
       methamphetamine); United States v. Smith, 456 F. App’x 572,
       574 (6th Cir. 2012) (probable cause where defendant engaged
       in suspicious driving, signed for a package known to contain
       heroin, and fled officers); Watkins v. City of Southfield, 221 F.3d
       883, (6th Cir. 2000) (reasonable suspicion where defendant was
       driving at half the speed limit in an area where many burglar-
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 20 of 26




       UNITED STATES v. GUZMAN                                      Page 20



       ies had recently been committed, and where the defendant
       refused to stop when he was directed to do so by the police);
       United States v. Gil, 58 F.3d 1414, 1418–19 (9th Cir. 1995)
       (probable cause where the defendant engaged in counter-
       surveillance driving and car switches, were observed the
       defendant making frequent deliveries of weighted bags to
       various locations, and frequently used pagers and public
       phones, and where cocaine had been recovered from a woman
       who had just been in the defendant’s car); United States v. Arias,
       923 F.2d 1387, 1388–89 (9th Cir. 1991) (probable cause where
       defendant engaged in counter-surveillance driving and where
       agents had information from a confidential source that the
       defendant was engaged in trafficking), abrogated in part on other
       grounds by, LaLonde v. Cnty. of Riverside, 204 F.3d 947 (9th Cir.
       2000); United States v. Colonia, 870 F.2d 1319, 1326 (7th Cir.
       1989) (probable cause where defendant engaged in “round-
       about motoring” and an informant’s tip implicated him in
       illegal activity); United States v. Marin, 761 F.2d 426, 431–32 (7th
       Cir. 1985) (probable cause where defendant engaged in
       “circuitous driving,” a tip implicated him in cocaine trafficking,
       and agents independently corroborated the tip).
          The line running through all of these cases suggests that
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 21 of 26




       UNITED STATES v. GUZMAN                                   Page 21



       suspicious driving alone will usually not be enough to trigger
       probable cause, but where the manner of driving is either
       particularly suggestive or is found alongside other evidence of
       criminality, probable cause exists: for example, with the
       counter-surveillance driving in Arias and Gil; the attempts to
       evade the authorities in Calderon and Korb; and the slow
       driving suggesting intoxication or “casing” in Watkins.
          Here, Guzmán was seen driving aimlessly for an exception-
       ally long period of time, parking in random spots, often
       hidden, as under the flowers, or isolated, as at Mary’s Kiosk.
       From at least 10:30 p.m., when he was spotted by a FURA
       intelligence officer, until 6:00 a.m. the next morning, when he
       was finally detained—more than seven hours total—Guzmán
       and his white van never strayed far from the area where the
       drugs were discovered. Only three people were seen coming
       off the boat, and the officers knew that more would have been
       needed to assist in the importation—and would need transpor-
       tation to and from the Maunabo area. As Agent Capestany and
       his colleagues surveilled the area that night, repeatedly seeing
       this van, they must have thought—reasonably—that it was
       probably involved in transporting people or drugs as part of a
       narcotics importation operation. When a boat did in fact come
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 22 of 26




       UNITED STATES v. GUZMAN                                 Page 22



       ashore nearby that night, carrying a large quantity of cocaine,
       this suspicion must have seemed confirmed. And so they
       stopped Guzmán, asking him what he was doing in the area.
       He could give no satisfying answer: he said he was picking up
       someone to do a construction job in Humacao, but he couldn’t
       contact the person he was supposedly meeting, and he couldn’t
       name the business at which he was meant to work. And of
       course, his explanation makes even less sense considering that
       Sgt. García knew that Guzmán had been driving around the
       relatively unpopulated area of Yabucoa and Maunabo for
       nearly eight hours.
          To be sure, neither Sgt. García nor any other agent at any
       time saw Guzmán do anything illegal, but what the agents saw
       nonetheless spoke volumes: that night, nearly 1,000 kilograms
       of cocaine came ashore on a lights-out vessel, in the middle of
       the night, in a largely-unpopulated area that has few busi-
       nesses or residences; that same night, for nearly eight hours,
       Guzmán was observed driving back and forth, occasionally
       parking in strange locations, along the corridor through which
       those drugs would necessarily be transported to the rest of the
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 23 of 26




       UNITED STATES v. GUZMAN                                          Page 23



       island;9 Guzmán was driving a type of vehicle that would be
       useful in transporting the drugs or people that came off the
       boat to elsewhere on the island; and when Guzmán was
       detained, he gave unbelievable explanations for his activities
       in the area that night. See United States v. Funches, 327 F.3d 582,
       587 (7th Cir. 2003) (“[T]he mere existence of innocent explanat-
       ions does not necessarily negate probable cause.”); United
       States v. Muñiz-Melchor, 894 F.2d 1430, 1438 (5th Cir. 1990) (“A
       succession of otherwise ‘innocent’ circumstances or events . . .
       may constitute probable cause when viewed as a whole.”).
       Looked at as a whole, “[n]o plausible explanations for this
       sequence of behavior readily spring to mind, nor has the
       defendant suggested any” that ring true. Green, 670 F.2d at
       1153. Instead, the totality of the circumstances leads us to a
       conclusion that here, an “innocent course of conduct was
       substantially less likely than a criminal one.” Patterson, 492 F.2d
       at 997. Probable cause existed to arrest Guzmán and, for the




       9.   By this we mean that to leave the Yabucoa-Maunabo area where the
            vessel came ashore, the drugs would necessarily have to travel along
            PR-901.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 24 of 26




       UNITED STATES v. GUZMAN                                           Page 24



       same reasons, to search his vehicle.10 We therefore recommend
       that the motion to suppress be denied.
           B. The evidence against Defendant Carela should not be
               suppressed.
           When officers came upon Carela, they had been told of the
       previous night’s events and were on the lookout for individu-
       als who had fled the vessel. Carela was wet and walking along
       a fairly remote road, and when he noticed the police, he fled
       into the bushes. This all, taken together, easily gave the police
       the reasonable suspicion necessary to initiate a Terry stop,
       which they did.
           Once stopped, Carela made admissions that tied him to the
       vessel found the previous night: he said that he had been
       working with a boat, had been promised $5,000.00 for his help,


       10. In an informative motion, the Government contends that the presiding
           judge has already settled the matter of probable cause to arrest
           Guzmán. Docket No. 119. We disagree. During a de novo bail hearing,
           the presiding judge stated that there was “sufficient suspicion for
           probable cause to stop the van.” Docket No. 80, at 83. We do not think
           this statement inconsistent with our report and recommendation
           because it mentions only the stop of Guzmán’s van, not his subsequent
           arrest or the van’s search. Moreover, we take the presiding judge’s
           referral order to mean that we have a duty to consider the entirety of
           the motions referred to us, making recommendations based on the
           evidence as we heard it and the law as we find it.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 25 of 26




       UNITED STATES v. GUZMAN                                   Page 25



       and hadn’t been paid yet. At this point, the officers arrested
       Carela, and given his admissions, the arrest was well sup-
       ported by probable cause: the previous night, a boat full of
       cocaine had arrived on the nearby shore; the police knew that
       several individuals helped offload cocaine from that boat,
       though they had caught only one of them; Carela was found
       not far from the place the boat landed, wet and dressed in all
       black; he admitted to having been working with a boat; for this
       work, he was to be paid $5,000.00; he was alone, hungry,
       thirsty, and seemed not to know his surroundings. That Carela
       was probably associated with the vessel carrying the cocaine
       was not a very difficult inference for the officers to have made.
          As for the statements that Carela made to federal agents
       after his arrest, as we have said, they appear to have come after
       he was read his Miranda rights, and there is nothing in the
       record suggesting coercion or the agents taking advantage of
       him. Accordingly, we recommend that his motion to suppress
       be denied.
          III.   Conclusion
          For the reasons stated above, we RECOMMEND that the
       motions to suppress filed by Defendants Guzmán, Docket No.
       104, and Carela, Docket No. 115, be DENIED.
Case 3:12-cr-00693-FAB-SCC Document 127 Filed 04/08/13 Page 26 of 26




       UNITED STATES v. GUZMAN                                 Page 26



          IT IS SO RECOMMENDED.
          The parties have until April 10, 2013, to file objections to
       this report and recommendation. Docket No. 105. Failure to file
       the same within the specified time waives the right to appeal
       this report and recommendation. Henley Drilling Co. v. McGee,
       36 F.3d 143, 150-51 (1st Cir. 1994); United States v. Valencia-
       Copete, 792 F.2d 4 (1st Cir. 1986).
          In San Juan, Puerto Rico, this 8th day of April, 2013.
                     S/ SILVIA CARREÑO-COLL
                     UNITED STATES MAGISTRATE JUDGE
